Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 1 of 14 Page ID #:632




   1 GLENN D. POMERANTZ (SBN 112503)
     glenn.pomerantz@mto.com
   2 KELLY M. KLAUS (SBN 161091)
     kelly.klaus@mto.com
   3 ROSE LEDA EHLER (SBN 296523)
     rose.ehler@mto.com
   4 ALLYSON R. BENNETT (SBN 302090)
     allyson.bennett@mto.com
   5 MUNGER, TOLLES & OLSON LLP
     355 South Grand Avenue, Thirty-Fifth Floor
   6 Los Angeles, California 90071-1560
     Telephone: (213) 683-9100
   7 Facsimile: (213) 687-3702
   8 Attorneys for Plaintiffs
   9
  10
                            UNITED STATES DISTRICT COURT
  11
                           CENTRAL DISTRICT OF CALIFORNIA
  12
                                     WESTERN DIVISION
  13
  14
     DISNEY ENTERPRISES, INC.;                    Case No. 16-cv-04109-AB (PLAx)
  15 LUCASFILM LTD. LLC;
     TWENTIETH CENTURY FOX FILM                   DECLARATION OF TEDD
  16 CORPORATION and FOX BROS.                    CITTADINE IN SUPPORT OF
     ENTERTAINMENT INC.,                          PLAINTIFFS’ MOTION FOR
  17                                              PRELIMINARY INJUNCTION
              Plaintiffs and Counter-
  18          Defendants,                         Judge: Hon. André Birotte Jr.
  19        vs.                                   Date: October 24, 2016
                                                  Time: 10:00 a.m.
  20 VIDANGEL, INC.,                              Crtrm.: 4
  21               Defendant and Counter-         Trial Date:     None Set
                   Claimant.
  22
  23
  24
  25
  26
  27
  28

           DECLARATION OF TEDD CITTADINE I/S/O PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                          16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 2 of 14 Page ID #:633




   1 I, Tedd Cittadine, declare as follows:
   2         1.     I am the Senior Vice President, Digital Distribution at 20th Century
   3 Fox Home Entertainment, which is part of Plaintiff Twentieth Century Fox Film
   4 Corporation (“Fox”). I submit this declaration in support of the motion by Plaintiffs
   5 in this action for a preliminary injunction. Except as to those matters stated on
   6 information and belief, the facts stated herein are known to me personally. As to
   7 those matters stated on information and belief, I am informed of the facts and
   8 believe them to be true. If called upon and sworn as a witness, I could and would
   9 testify competently to the contents of this Declaration.
  10                                    INTRODUCTION
  11         2.     In my position, I generally oversee our digital business, including the
  12 negotiation of digital distribution agreements in the United States and Canada with
  13 third party companies who provide our copyrighted entertainment content (motion
  14 pictures and television shows, collectively “content”) directly to customers. We
  15 refer to these business partners as our “clients.” I have worked in digital distribution
  16 in various roles at Fox since 2009.
  17         3.     From my professional experience, I am familiar with Fox’s efforts to
  18 partner with our clients to distribute our content to consumers across a range of
  19 digital viewing options. Through publicly available sources, such as industry
  20 publications and the media, I also have knowledge about the analogous efforts of
  21 other motion picture studios and the general means by which other studios,
  22 including the other Plaintiffs in this action, distribute their content.
  23         4.     I understand that Defendant VidAngel, Inc. markets a service that
  24 allows consumers to stream our content, and the content of other creators of motion
  25 pictures and television shows, over the internet for a fee of $1 or $2 a day. This sort
  26 of consumer offering—daily access to a particular movie or television show—is
  27 known generally as on-demand streaming. VidAngel does not have a license
  28 agreement with Fox to copy, distribute or transmit Fox’s copyrighted content.
                                              -1-
           DECLARATION OF TEDD CITTADINE I/S/O PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                          16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 3 of 14 Page ID #:634




   1        5.     In this Declaration, I describe Fox’s digital business generally and the
   2 type of immediate and irreparable harm that Fox faces unless VidAngel’s
   3 unauthorized exploitation of our content is enjoined: (a) harm to our basic right to
   4 control how, when and through which channels our content is disseminated for
   5 viewing by consumers; (b) harm to the market for the online distribution of our
   6 content and to our relationships with authorized distributors, including undermining
   7 the ability of these distributors to provide their licensed offerings; (c) harm to our
   8 ability to secure and protect our content in the online environment; and (d) harm to
   9 the overall development of the on-demand streaming market by the provision of
  10 user-viewing experiences without our rigorous quality controls. I believe that the
  11 other Plaintiffs in this lawsuit face similar harm from VidAngel’s unauthorized
  12 activities. The threat of these harms has increased as VidAngel has grown in both
  13 the number of titles it makes available and in the number of end consumers it serves.
  14                             FOX’S DIGITAL BUSINESS
  15        6.     Fox is widely known and recognized for its motion pictures, many of
  16 which are very popular with consumers—just to name a few, The Martian (2015),
  17 Avatar (2009) and Home Alone (1990). Fox also has popular television content,
  18 including the Homeland series.
  19        7.     Fox and its affiliates invest substantial resources to bring motion
  20 pictures and television shows to consumers. Each project involves substantial risk
  21 because the upfront costs of producing, marketing and distributing a major motion
  22 picture can be tens of millions of dollars or more. Our willingness to incur this risk
  23 depends on our ability to earn a return on our substantial investment through
  24 charging for the rights to reproduce, distribute and perform our content. The
  25 success we have in achieving a return on our investment then determines whether
  26 we can agree to produce new creative works and how much we can spend in doing
  27 so.
  28
                                                 -2-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 4 of 14 Page ID #:635




   1        8.     The lynchpin of our business is our ability to charge for the right to
   2 reproduce, distribute, perform or otherwise use our intellectual property. Being able
   3 to control the exploitation of the exclusive rights we hold in our copyrighted works
   4 is crucial to this endeavor. Copyright protection ensures this control, which allows
   5 us to earn returns on our substantial investment and to continue producing film and
   6 television content in the future.
   7        9.     We offer Fox content to the public through a range of offerings that
   8 meet customer demand and at retail price points (set by our clients) tailored to those
   9 choices. Currently, Fox (as I understand is also true of the other Plaintiffs),
  10 individually and through our affiliates and licensees, offer the following options:
  11              Customers can see our movies in the theater;
  12              they can buy a copy on DVD or Blu-ray Disc (“purchase a physical
  13               Disc copy”);
  14              they can download and license long-term digital rights to a copy
  15               through a service like iTunes or Amazon Video (“purchase a digital
  16               download copy”);
  17              they can rent a physical copy at a brick-and-mortar store or kiosk, like
  18               Redbox;
  19              they can rent a movie on demand for a limited period of time through a
  20               cable, satellite, or internet video-on-demand platform, such as iTunes
  21               or Google Play (transactional “on-demand streaming”);
  22              they can access and view a movie on demand through a subscription
  23               streaming service like Netflix, Hulu, HBO NOW or HBO GO1
  24               (subscription “on-demand streaming”);
  25
  26   1
      HBO offers HBO NOW as a standalone on-demand streaming service. HBO GO
  27 also streams on-demand but is included with the HBO cable television subscription
  28 channel.
                                             -3-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 5 of 14 Page ID #:636




   1               they can watch it on a subscription cable television channel like HBO;
   2                or
   3               they can, eventually, watch it for free on network television.
   4 Each of these options is known as a “distribution channel” and is designed to
   5 provide different value to consumers matched to their willingness to pay. My
   6 business focuses on the multiple online distribution channels.
   7         10.    Fox’s digital distribution business has become increasingly important
   8 in recent years, and we are always looking for new opportunities to grow our
   9 business and respond to consumer demand through partnerships with current and
  10 new clients.
  11         11.    Fox’s partnerships with clients take time and resources. Including
  12 myself, we have approximately 73 individuals who work full time either negotiating
  13 or maintaining our relationships with our digital clients.
  14         12.    We have also been very deliberate in our digital strategy and the terms
  15 and conditions on which we have agreed to license our content to online services
  16 like VUDU, iTunes, Google Play, Netflix and others. Just by way of general
  17 example, Fox’s agreements for streaming often include, among other terms:
  18 (a) detailed provisions requiring technological measures to protect the security of
  19 the transmission of the content to ensure against unlawful access, copying and
  20 piracy, (b) provisions requiring a certain level of quality for the content’s display, to
  21 ensure that consumers are receiving appropriate value, and (c) restrictions on
  22 making the content available during certain blackout periods where other clients
  23 have paid for exclusive distribution rights. Unlicensed services such as VidAngel
  24 act independent of these terms, thereby undermining our business and the market
  25 more generally.
  26
  27
  28
                                                 -4-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 6 of 14 Page ID #:637




   1       VIDANGEL THREATENS FOX AND PLAINTIFFS WITH IMMEDIATE
   2                             AND IRREPARABLE HARM
   3         13.   VidAngel threatens a variety of serious and irreparable harms to Fox
   4 and the other Plaintiffs if permitted to continue its unauthorized operations.
   5 VidAngel Harms Plaintiffs’ Right To Control The Distribution Of Their Content
   6         14.   VidAngel’s unlicensed use of Fox’s content threatens the cornerstone
   7 of our digital business—exclusive control over the distribution of our copyrighted
   8 works. The ultimate success or failure of our business depends on a carefully
   9 designed strategy to build demand for our content with consumers across a variety
  10 of viewing options provided by our clients. We therefore negotiate with our clients
  11 over how (under what conditions), when (on what date and for what duration), what
  12 (which titles) and for how much (at what wholesale price) they can obtain the rights
  13 to distribute and publicly perform our content.
  14         15.   An example of how we strategically exercise our exclusive right to
  15 control the dissemination of our content in order to maximize its value is the
  16 strategy of “windowing.” At Fox, we enter into agreements with clients that restrict
  17 when (in which “window”) after a particular Fox title is released to the home
  18 entertainment market that particular client has the right to distribute or perform it.2
  19 Clients are generally willing to pay more for the right to distribute or perform
  20 movies in an earlier window when that content is new, or newer, to the movie-
  21 watching public. Some clients will pay more for the exclusive right to distribute and
  22 perform our movies during a particular time period. Fox must then negotiate
  23 restrictions in other license agreements to allow for these exclusivity periods.
  24 Because VidAngel operates illegally (free from licensing restrictions), it risks
  25
       2
  26  Fox’s strategy is unique and the other Plaintiffs likely employ different specific
     windowing strategies. Nonetheless, some form of windowing is central to any
  27 distribution strategy and allows a content company to match different viewing
  28 offerings with the willingness to pay of consumers.
                                                -5-
             DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                          16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 7 of 14 Page ID #:638




   1 making our movies available during windows occupied by different distribution
   2 channels or exclusivity periods held by one or more specific clients, thus interfering
   3 with Fox’s contractual commitments, its relationship with its clients and its ability to
   4 negotiate similar deals in the future.
   5         16.   I am aware that VidAngel has interfered with legitimate services’
   6 negotiated rights by offering Plaintiffs’ content during exclusive windows. The
   7 most salient example—albeit of a non-Fox title—is Star Wars: The Force Awakens
   8 (2015), owned by Plaintiff Lucasfilm. It is well known that The Force Awakens was
   9 an immensely popular motion picture. Its release to the home entertainment market
  10 was very much anticipated and scheduled for April 5, 2016. Public reports made
  11 clear that it would be available on DVD, Blu-ray Disc and digital download, but that
  12 it would not be offered for on-demand streaming in that same window. On the very
  13 same day, April 5th, VidAngel released The Force Awakens for on-demand
  14 streaming, thereby competing directly with these other exclusive viewing options
  15 and preempting legitimate on-demand streaming services.
  16         17.   Although Star Wars: The Force Awakens is not a Fox title, unlicensed
  17 use of such a popular film concerns me. VidAngel’s conduct shows that it has
  18 interfered and (unless enjoined) will continue to interfere with exclusive windowing
  19 rights, undermining our clients’ ability to maximize the value of the rights we grant
  20 them and, in turn, harming Fox’s relationships with them and ability to negotiate for
  21 similar rights in the future.
  22 VidAngel Harms Plaintiffs’ Relationships With Clients By Undermining Their
  23 Ability to Provide Licensed Offerings
  24         18.   Fox’s relationships with the companies that distribute and perform our
  25 content are very important. The success of our business is very much intertwined
  26 with the success of their business.
  27         19.   Our clients worry about unlicensed services in the market that compete
  28 with their business on unfair terms. They complain to us in partnership meetings,
                                              -6-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 8 of 14 Page ID #:639




   1 and especially in negotiations, that it is difficult to compete with services that, like
   2 VidAngel, do not act pursuant to licensing restrictions. This is especially true for
   3 unlicensed services that do not pay for the content they exploit. Our clients
   4 complain that it is difficult to compete with unlicensed services’ low-cost (or even
   5 free) offerings. As a result, these unlicensed services are a problem for the entire
   6 legitimate market for home entertainment, and in particular, for the online
   7 distribution market.
   8         20.   VidAngel is a quintessential example of the sort of unlicensed service
   9 that undermines the market for authorized content and interferes with our client
  10 relationships. VidAngel markets itself as offering discounted streaming—a mere $1
  11 or $2 per day for movies and television episodes. In contrast, licensed services’
  12 transactional on-demand streaming retail prices typically are $2.99 to $5.99 per
  13 rental and their digital download prices typically are $9.99 to $19.99 for a
  14 permanent copy. By offering consumers on-demand streaming at a lower price—
  15 which VidAngel can offer only because it misappropriates Fox’s content—
  16 VidAngel threatens the business of all of our clients who have negotiated legal,
  17 authorized licenses for those rights.
  18         21.   VidAngel’s marketing and advertising further threatens to confuse
  19 consumers and upset the balance between on-demand streaming and physical
  20 rentals. VidAngel operates an on-demand streaming service but some of its
  21 marketing compares it to physical DVD rental services, like Redbox. This threatens
  22 to confuse consumers because the two distribution channels offer different value
  23 propositions. Fox makes its titles available in physical disc form to Redbox, which
  24 generally operates in a later window than on-demand streaming services and only
  25 offers physical rentals. Because consumers generally have a lower willingness to
  26 pay in later release windows, Redbox charges a lower price to consumers (e.g., $1
  27 per night for DVD rentals from its kiosks). In contrast, on-demand streaming
  28 services operate in an earlier window and have the rights to stream Fox’s content
                                              -7-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 9 of 14 Page ID #:640




   1 over the internet, which many consumers find more convenient. VidAngel’s
   2 marketing confuses the two—seemingly trying to convince consumers that they can
   3 have the value of on-demand streaming of newer releases for the price of a Redbox
   4 rental. By confusing consumers as to the different value propositions, VidAngel
   5 threatens to undermine our clients’ abilities to provide their licensed offerings.
   6        22.    These harms, in particular, only worsen as VidAngel grows. As a
   7 relative matter, a very small and unknown unlicensed service does less harm
   8 because it does not pose a serious threat to our clients’ businesses. Once an
   9 unlicensed service reaches a certain size or level of notoriety, however, the threat
  10 increases dramatically. I am aware that VidAngel, in recent months, has been
  11 aggressively marketing its service to consumers and has grown its user-base
  12 substantially. This concerns me because as VidAngel continues to grow and gain
  13 consumers (at the expense of lawful services) the threat to our relationships with
  14 clients and the market for authorized streaming will only increase.
  15 VidAngel Harms Plaintiffs’ Ability To Secure And Protect Their Content
  16        23.    VidAngel takes away Fox’s right to control the security with which our
  17 content is transmitted to the public. This undermines the steps that Fox and the
  18 other Plaintiffs take to prevent unauthorized access, illegal copying, and piracy—
  19 problems that threaten serious harm to our industry.
  20        24.    The internet has been a very valuable tool for digital distribution of our
  21 content, especially with the rise of mobile devices. However, the internet can also
  22 be used to access, copy and exploit our content on a mass scale. Our industry has
  23 responded to this challenge by developing rigorous digital rights management
  24 (“DRM”) technology and other means of ensuring the security of digital streams and
  25 copies transmitted over the internet.
  26        25.    Before Fox grants any client the right to stream or digitally distribute
  27 our content, we do a thorough and detailed review of the service’s security
  28 protocols. After investigating these security measures, we negotiate stringent
                                               -8-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 10 of 14 Page ID #:641




   1 security and protection requirements that the client must follow. Our agreements
   2 also contain provisions for steps a client must take if there is a breach of that
   3 security. Because VidAngel’s transmission of Fox’s content is unlicensed, Fox has
   4 not had the ability to vet and negotiate security protocols to protect our content
   5 when streamed by VidAngel. Likewise, Fox has no recourse if whatever security
   6 measures VidAngel does use fail.
   7 VidAngel Undermines Our Ability To Insist On Quality Controls, Which In Turn
   8 Threatens The Continued Development Of The Online Market
   9         26.   VidAngel’s unlicensed service further threatens the development and
  10 growth of the on-demand streaming market. Fox works closely with its clients to
  11 ensure that customers receive an optimal viewing experience. Customers’ positive
  12 experiences with on-demand streaming encourages them to use licensed services
  13 more. This is important to the continued and sustained growth of the on-demand
  14 streaming market, and to digital home entertainment more broadly.
  15         27.   VidAngel harms consumers’ perceptions of the on-demand streaming
  16 market by providing a sub-optimal consumer experience, thereby tarnishing
  17 consumer perception of on-demand streaming generally and discouraging
  18 consumers from using legitimate on-demand streaming services. For instance,
  19 before granting a client the rights to transmit our movies, Fox vets that entity to
  20 ensure that it will provide a high-quality viewing experience to customers. In
  21 contrast, Fox has no control over the quality of the transmission of the movies from
  22 VidAngel and thus I worry that poor quality transmissions could lead to consumer
  23 dissatisfaction and damage to consumer perception of on-demand streaming.
  24         28.   A bad viewing experience could also tarnish consumers’ views of Fox
  25 and our branded content. Consumers may come to associate the poor quality with
  26 the Fox film they were attempting to watch (in addition to, or instead of VidAngel).
  27 We want the movie-watching public to have the best possible experience so they
  28
                                                 -9-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 11 of 14 Page ID #:642




   1 continue to choose watching movies and television, and Fox-branded content in
   2 particular, for their entertainment.
   3        29.    I understand that VidAngel may tell its customers that certain movies
   4 are “out-of-stock.” This message of unavailability is inconsistent with the idea of
   5 video “on demand” and risks causing consumer frustration and confusion, thereby
   6 hurting the broader on-demand streaming market. This is of particular significance
   7 since the “always available, never out of stock” character of on-demand streaming is
   8 one of the essential differentiating characteristics of the on-demand experience from
   9 that of traditional, physical DVD rental (e.g. Redbox).
  10        30.    I also understand that VidAngel limits the number of devices to which
  11 a consumer can stream. The ability to stream on several devices for personal or
  12 family use (e.g. mobile phone and tablet) is another value proposition of the on-
  13 demand streaming market. Again, this availability across a number of devices
  14 differentiates on-demand streaming from physical DVD rentals and is important to
  15 encouraging consumers to purchase from authorized on-demand services.
  16        31.    Fox invests significant amounts of money to market and promote the
  17 availability of its various motion pictures and television shows for on-demand
  18 streaming. Fox also expends substantial effort and resources in working with our
  19 clients to ensure the best possible viewing experience for consumers. These efforts
  20 will be hampered if VidAngel’s sub-optimal experience turns consumers away from
  21 the on-demand streaming market and Fox’s movies and television shows.
  22 The Harms That VidAngel Causes Are Immediate And Irreparable
  23        32.    VidAngel threatens immediate harm to Fox because it directly
  24 interferes with exclusive releases to particular licensees. For example, Fox grants
  25 HBO exclusive windows for certain movies, in which they are not available for on-
  26
  27
  28
                                               -10-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 12 of 14 Page ID #:643




   1 demand streaming on other services.3 Right now, both The Martian (2015) and
   2 Brooklyn (2015) are within these HBO exclusive windows. Customers can watch
   3 them on the HBO subscription cable channel through on-demand streaming on HBO
   4 NOW or HBO GO. They are not available on other on-demand streaming services.
   5 VidAngel nonetheless has these same movies available for on-demand streaming on
   6 its service—directly impacting HBO’s exclusive window.
   7         33.   Likewise, VidAngel threatens immediate harm to Fox because it
   8 interferes with the exclusive windows for other distribution channels. New releases
   9 are first released to distributors that sell digital download copies. Shortly thereafter
  10 they are released for purchase on physical Disc. During these initial release
  11 windows, they are typically not available for on-demand streaming. VidAngel,
  12 however, offers newly released titles soon after they are released for purchase on
  13 physical Disc. Accordingly, for each new release that VidAngel offers, it interferes
  14 with the exclusive window that iTunes, Google Play, VUDU and others have to sell
  15 digital downloads before the title becomes available for on-demand streaming.
  16         34.   The threat from each of the harms that I have described above has
  17 increased and continues to increase as VidAngel grows in size and more
  18 aggressively markets its service. Specifically, each new Fox title that VidAngel
  19 adds to its service poses a new threat to Fox’s ability to control its copyrighted
  20 works and that work in particular.
  21         35.   I am informed and believe that, in or around July 2015, VidAngel’s
  22 outside counsel sent letters to the General Counsel of Fox’s corporate parent (and
  23 the General Counsels of the corporate parents of the other Plaintiffs as well as other
  24 motion picture studios) regarding its service. I understand from reviewing that letter
  25 that VidAngel at that time claimed to have fewer than 5,000 users and was still in a
  26
  27   3
       During these windows consumers can purchase permanent copies of Fox’s movies
  28 through purchasing a physical Disc copy or a digital download copy.
                                            -11-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 13 of 14 Page ID #:644




   1 “limited beta test.” That letter does not say when VidAngel planned to launch its
   2 service publicly. I am informed and believe that my colleagues in Fox’s legal
   3 department, in conjunction with legal counsel through the Motion Picture
   4 Association of America (“MPAA”), immediately commenced investigation of
   5 VidAngel’s potential liability. I am further informed and believe that Fox’s legal
   6 department, in conjunction with counsel for the other Plaintiffs, continued to
   7 monitor VidAngel’s activities and growth through the first part of 2016 as VidAngel
   8 began to more aggressively market its service, ultimately filing suit on June 9.
   9         36.    VidAngel’s growth has been cause for concern. Our clients would not
  10 notice (let alone complain) about a service with a mere 5,000 users, but one with
  11 100,000 users is much more problematic. I am not aware of any specific complaints
  12 about VidAngel, but know that VidAngel’s presence as one more, quickly growing,
  13 unlicensed service in the market will frustrate our client relationships, negotiations
  14 and the growth of the on-demand streaming market more generally.
  15         37.   It is my strong belief that these harms to our relationships with clients
  16 and the on-demand streaming market, though they are likely to be very significant,
  17 will be extremely hard to measure in dollar terms. It will be extraordinarily difficult
  18 to assess what impact VidAngel has on the on-demand streaming market, and how
  19 much of that it is a result of negative consumer experiences with services like
  20 VidAngel, and even more difficult to assess the effect on Fox of the disruption of its
  21 relationships with legitimate licensees.
  22         38.   For these reasons, Fox and the Plaintiffs will suffer immediate and
  23 irreparable injury unless the Court enjoins VidAngel’s service.
  24
  25
  26
  27
  28
                                                -12-
            DECLARATION OF TEDD CITTADINE ISO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                         16-CV-04109-AB (PLAX)
Case 2:16-cv-04109-AB-PLA Document 28 Filed 08/22/16 Page 14 of 14 Page ID #:645




                                22
